                            Case 18-15891-LMI               Doc 84       Filed 08/19/18          Page 1 of 3
                                               United States Bankruptcy Court
                                               Southern District of Florida
In re:                                                                                                     Case No. 18-15891-LMI
Maurice Symonette                                                                                          Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 113C-1                  User: cgrimm                       Page 1 of 1                          Date Rcvd: Aug 17, 2018
                                      Form ID: pdf004                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 19, 2018.
db             +Maurice Symonette,   PO Box 222692,   Hollywood, FL 33022-2692

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 19, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 17, 2018 at the address(es) listed below:
              Jeffrey S Fraser   on behalf of Creditor   HSBC Bank USA, National Association as Trustee for
               Nomura Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 bkfl@albertellilaw.com,
               anhsalaw@infoex.com
              Joel L Tabas   JLT@tfsmlaw.com,
               kborrego@tabassoloff.com;jtabas@ecf.epiqsystems.com;jcepero@tabassoloff.com;lshortino@tabassoloff
               .com
              Office of the US Trustee   USTPRegion21.MM.ECF@usdoj.gov
                                                                                            TOTAL: 3
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      ORDERED in the Southern District of Florida on August 16, 2018.




                                                    Laurel M. Isicoff
                                                    Chief United States Bankruptcy Judge




_____________________________________________________________________________



                             UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


      IN RE:                                                CASE NO.: 18-15891-LMI

      MAURICE SYMONETTE                                     CHAPTER: 7

            DEBTORS.
      __________________________/

         ORDER GRANTING MOTION FOR ANNULMENT OF THE AUTOMATIC STAY
                NUNC PRO TUNC [DE #42] (SUPPLEMENTED AT DE #51])

             THIS CAUSE came before the Court at a hearing on August 8, 2018 at 3:00 p.m. upon
      the Motion for Annulment of the Automatic Stay Nunc Pro Tunc [DE #42] (Supplemented at DE
      #51] WKH ³0RWLRQ WR $QQXO´ filed HSBC Bank USA, National Association as Trustee for
      Nomura Home Equity Loan, Inc., AssetBacked Certificates, Series 2007-1 (the ³Creditor´.
      The Court, having heard argument by the Debtor and argument by counsel for the Creditor enters
      the IROORZLQJ2UGHULQUHODWLRQWR&UHGLWRU¶V0RWLRQWR$QQXO:
         ORDERED:
             1.     The Motion to Annul is GRANTED.
             2.     The Automatic Stay in relation to the Creditor is annulled to the petition date
      (May 16, 2018).
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        3.      The Debtor has no legal, equitable, or any other colorable title in relation to real
property located at 10290 SW 58th St., Miami, FL, 33173 WKH ³6XEMHFW 3URSHUW\´ ± more
particularly described as:




        4.      Any possession by the Debtor in relation to the Subject Property is (and has
always been) unlawful and without the permission of Creditor, the title holder.
        5.      7KH 'HEWRU¶V EDQNUXSWF\ ZDV ILOHG IRU WKH VROH SXUSRVH RI VWRSSLQJ &UHGLWRU¶V
eviction in relation to the Subject Property.
        6.      The Debtor has no redress for any damages that may or may not have been
experienced b\ WKH 'HEWRU LQ UHODWLRQ WR WKH 'HEWRU¶V (PHUJHQF\ 0RWLRQ IRU 9LRODWLRQ RI WKH
Automatic Stay [DE #20].




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Attorney, Jeffrey S. Fraser, Esq. shall serve a copy of the signed order on all required parties
and file a certificate of service as required under Local Rule 2002-1(F).

Submitted by:
Jeffrey S. Fraser, Esq.
Albertelli Law
Attorney for Secured Creditor
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Tampa, FL 33623
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Facsimile: (813) 221-9171
bkfl@albertellilaw.com




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